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Case 8:11-cv-01087-VMC-TBM Document
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
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                                       Filed06/30/11
                                             06/24/11 Page
                                                      Page22of
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
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                                       Filed06/30/11
                                             06/24/11 Page
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
                           Document8-1
                                    10 Filed
                                       Filed06/30/11
                                             06/24/11 Page
                                                      Page44of
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
                           Document8-1
                                    10 Filed
                                       Filed06/30/11
                                             06/24/11 Page
                                                      Page55of
                                                             of98PageID
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
                           Document8-1
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                                       Filed06/30/11
                                             06/24/11 Page
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
                           Document8-1
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                                       Filed06/30/11
                                             06/24/11 Page
                                                      Page77of
                                                             of98PageID
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Case8:11-cv-01087-VMC-TBM
Case 8:11-cv-01087-VMC-TBM Document
                           Document8-1
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                                       Filed06/30/11
                                             06/24/11 Page
                                                      Page88of
                                                             of98PageID
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Case 8:11-cv-01087-VMC-TBM Document 10 Filed 06/30/11 Page 9 of 9 PageID 57




  DONE and ORDERED in Chambers, in Tampa, Florida, this 28th day

  of June 2011.




  Copies:

  All Counsel of Record
